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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,              )
                                       )
                   Plaintiff,          )
                                       )
             v.                        )           Case No. 1:04-cv-00798-PLF
                                       )
ALL ASSETS HELD AT BANK JULIUS )
Baer & Company, Ltd., Guernsey         )
Branch, account number 121128, in the )
name of Pavlo Lazarenko, et al.        )
                                       )
                    Defendants In Rem. )

              [PROPOSED] ORDER DENYING SUMMARY JUDGMENT

      For the reasons set forth in the United States’ Opposition to Claimant Pavel Lazarenko’s

Motion for Summary Judgment on the Bank Julius Baer Guernsey Account;

      It is hereby ORDERED that the Claimant Lazarenko’s motion is DENIED.



SO ORDERED.



                                                  ____________________________________
                                                  THE HONORABLE PAUL L. FRIEDMAN
DATE: _______________                             United States District Judge




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